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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

    KWIK TICKET INC., by its 50% owner                     Case No. 20-cv-01201 (FB) (SJB)
    FLORENCE SHAMAH, and FLORENCE
    SHAMAH, Individually

                            Plaintiff,

                -against-


    LARRY SPIEWAK, MINDY SPIEWAK,
    MALKAH JACOBOVITS and JOEL BOIKESS,

                            Defendants.



                 REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                    DEFENDANT JOEL BOIKESS MOTION TO DISMISS




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                            Attorneys for Defendant Joel Boikess
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                    Defendant, Joel Boikess (“Outside Accountant”), respectfully submits this

    memorandum in reply to plaintiff’s opposition and in further support of defendant Boikess’s motion

    to dismiss with prejudice the claims asserted against him in plaintiff’s Amended Complaint, dated

    June 11, 2021 (“Complaint”), pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure

    (“Fed. R. Civ. P.”).

                                       PRELIMINARY STATEMENT

                    This case is a classic example of “putative civil RICO claims that ‘are nothing more

    than sheep masquerading in wolves' clothing,’ or ordinary fraud cases ‘clothed in the Emperor's

    trendy garb” should be “flush[ed] out” at early stages of the litigation’. Cedar Swamp Holdings,

    Inc. v. Faith Zaman, 487 F. Supp. 2d 444, 449 (S.D.N.Y. 2007) (citation omitted). Here plaintiff

    claims a variety of theories sounding in conspiracy and racketeering to proceed in this Court as

    opposed to a New York State Supreme Court. Absent a federal claim and given the lack of

    complete diversity between the parties (Kwik Ticket – New York Corp and Defendant Boikess –

    New York domiciliary) this Court should decline to exercise supplemental jurisdiction over the

    state law claims.

                    The Amended Complaint fails to assert the necessary elements of a RICO cause

    of action as to any Defendant. Reading plaintiff’s hyperboles, the Amended Complaint describes

    nothing more than a “quintessential” business dispute between family members as they habitually

    have sued each other for years.1 Thus, plaintiff's attempt to transform common-law claims into a

    federal RICO case is futile because the facts simply do not and cannot support a RICO claim.

    Moreover, no RICO enterprise or RICO defendant is pleaded because none exists. The alleged

    predicate acts are nothing more than “garden variety” common law claims that fail to state a RICO


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     Kwik Ticket Inc v, Isaac Shamah, Florence Shamah (Sup. Ct. Kings Cty) (501076/2020); Chung Tai
    Printing (China) Co Ltd. v, Florence Paper Corp., Steven Shamah, Vivian Shamah, Ronald Shamah, Shari
    Shamah and Isaac Shamah (Sup. Ct. New York Cty)(651101/2019); Isaac Shamah v. Steven Shamah,
    Ronald Shamah and Florence Paper Corp. (Sup. Ct. New York Cty) (650215/2011); Steven Shamah,
    Ronald Shamah, Florence Enterprises, a general partnership, and Florence Investment Group, LLC, a
    general partnership, v. Isaac Shamah, David I. Shamah and Abramham Shamah (Sup. Ct. New York
    Cty)(652371/2011); Gigi Marie Shamah v. Isadore Shamah and Issac Shamah (Sup. Ct. New York
    Cty)(651249/2010).

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    claim. Thus, plaintiff’s RICO claims should be dismissed because this case is not about a large,

    interstate civil conspiracy but is instead based on allegations of “garden variety” fraud.

                    Plaintiff’s opposition papers fail to allege (1) that defendant Boikess (2) through the

    commission of two or more acts (3) constituting a “pattern” (4) of “racketeering activity” (5)

    participated in the management or operations (6) of an “enterprise” (7) the activities of which affect

    interstate or foreign commerce. See, e.g., Kensington Intern. Ltd v. Societe Nat. des Petroles du

    Congo, No. 05 CIV 5101 (LAP), 2006 WL 846351, at *10 (S.D.N.Y. Mar. 31, 2006); FD Property

    Holding, Inc. v. US Traffic Corp., 206 F. Supp. 2d 362, 369 (E.D.N.Y. 2002).             Consequently

    plaintiff fail to rebut the well-established law requiring plaintiff to allege adequately a substantive

    RICO violation to maintain an action under 18 U.S.C. § 1962(d) because there can be no RICO

    conspiracy claim without a substantive RICO violation. See First Capital Asset Mgmt., Inc. v.

    Satinwood, Inc., 385 F.3d 159 (2d Cir. 2004)(“because Plaintiffs' RICO conspiracy claims are

    entirely dependent on their substantive RICO claims, we also concur in the … dismissal of the

    RICO conspiracy claims”).

                    Also, plaintiff’s claims for breach of fiduciary duty, aiding and abetting and for a

    preliminary and permanent injunction should be dismissed. The breach of fiduciary duty claim

    should be dismissed as routine tax and accounting engagements do not give rise to a fiduciary

    duty on the part of an outside accountant. Moreover, plaintiff’s aiding and abetting counts fail

    because Boikess Outside Accountant did not have a duty to investigate and report fraud. Boikess

    did not owe plaintiff a fiduciary duty. In fact, Boikess continues to serve as an outside accountant

    for Kwik Ticket, Inc.

                    Furthermore, the claim for a preliminary and permanent injunction fails because

    this Court has already ruled that Plaintiff is unable to show irreparable harm or inadequate remedy

    at law. Lastly, all of plaintiff’s claims are barred by the corresponding statute of limitations.




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                                               ARGUMENT

      I.   PLAINTIFF FAILS TO ALLEGE FACTS NECESSARY FOR A SECTION 1962(d) CLAIM

                   Even though plaintiff alleges that this is a RICO civil lawsuit, the majority of cases

    plaintiff cites, under 18 U.S.C. § 1962(d), in its Memorandum of Law in Opposition to defendant

    Boikess’ motion, focus on government actions. See Sky Med. Supply Inc. v. SCS Support Claims

    Servs., 17 F.Supp.3d 207, 220 (E.D.N.Y. 2014)(“[C]ourts have expressed skepticism towards civil

    RICO claims.”); see also DLJ Mortg. Capital, Inc. v. Kontogiannis, 726 F.Supp. 2d 225, 236

    (E.D.N.Y. 2010)(“[P]laintiffs have often been overzealous in pursuing RICO claims, flooding

    federal courts by dressing up run-of-the-mill fraud claims as RICO violations.”). “The core of a

    RICO civil conspiracy is an agreement to commit predicate acts” in violation of 18 U.S.C. §

    1962(a), (b), or (c) and a complaint must allege specifically of such an agreement. Hecht v.

    Commerce Clearing House, Inc., 897 F.2d 21, 25 (2d Cir. 1990). Conclusory allegations of

    agreement are insufficient. See, e.g., Morin v. Trupin, 711 F.Supp. 97, 111 (S.D.N.Y. 1989).

    Noteworthy is that Congress did not deploy RICO as an instrument against all unlawful acts.

    Congress targeted only predicate acts categorized under section 1961(1) and no other conduct.

    Hence plaintiff’s complaint fails to satisfy the Rico pleading requirements as they lack specificity

    as set forth in the Amended Complaint ¶¶ 61, 62, 63:

           61. Defendants agreed and conspired to violate 18 U.S.C. § 1962(c). Such agreement
           included the manufacture of fraudulent invoices; issuance of Company checks to “pay”
           those fraudulent invoices; cashing said checks and retaining the funds; the maintenance
           of fraudulent books and records to make it appear that vendors were being paid in the
           ordinary course of business, when in fact the sums represented by the invoices were
           embezzled by the Inside Defendants; and the generation of materially false and
           misleading financial statements by an accountant for the purpose of concealing the fraud
           from the Company.
           62. Defendants have intentionally conspired and agreed to directly and indirectly
           conduct and participate in the conduct of the affairs of the Kwik Ticket Inc. enterprise
           through a pattern of racketeering activity. Defendants knew that their predicate acts were
           part of a pattern of racketeering activity, and agreed to the commission of those acts to
           further the schemes described above. That conduct constitutes a conspiracy to violate
           18 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).
           63. As a direct and proximate result of the defendants’ conspiracy, the overt acts taken
           in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Kwik Ticket


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           Inc. has been injured in its business and property in that defendants’ conspiracy enabled
           the Inside Defendants to loot the Company’s assets for their personal gain.

     The Second Circuit noted that ordinary theft offenses and conspiracies to commit them are

     not predicate acts under RICO. Spool, et al. v. World Child International Adoption

     Agency, 520 F.3d 178, 184 (2d Cir. 2008).

                    A review of Amended Complaint ¶¶ 61, 62, 63 claims, prove that plaintiff did not

     plead a RICO conspiracy with sufficient particularity. Obviously, the amended complaint alleges

     in only the most conclusory fashion that defendants “conspired” to become part of an alleged

     enterprise. See, e.g., Amended Complaint ¶¶ 61, 62, 63. See Zamora v. FIT International Group

     Corp., 834 F.App’x 622 (2d Cir. 2020)(holding that plaintiff’s failure to state a claim for a

     substantive RICO violation is fatal to their RICO conspiracy claim under § 1962(d) because the

     claims relied on the same factual predicate). Moreover, plaintiff fail to plead any specific factual

     allegations that defendant Boikess consciously agreed to become part of a RICO conspiracy and

     commit the necessary predicate racketeering acts. Plaintiff does not provide factual support to

     show that defendant Boikess committed the predicate acts with the requisite knowledge of the

     purpose of the enterprise and with the intent to further its alleged goals. See Naso v. Park, 850

     F.Supp. 264, 275 (S.D.N.Y. 1994). Plaintiff also fail to allege facts that suggest defendants

     “manifested a conscious agreement to commit predicate acts in furtherance of the common

     purpose       of      the      RICO        enterprise.”      American Arbitration Ass'n,          Inc.

     v. DeFonseca, No. 93 Civ. 2424, 1996 WL 363128, at *7 (S.D.N.Y. 1996); United States v.

     Bonanno, 683       F.Supp.     1411,    1440      (S.D.N.Y.1988), aff'd, 879     F.2d    20       (2d

     Cir.1989). Furthermore, plaintiffs fail to allege a conscious agreement among all defendants to

     commit at least two predicate acts. See Bonanno, 683 F.Supp. at 1440; see also Black Radio

     Network, Inc. v. NYNEX, Corp., 44 F.Supp.2d 565, 581 (S.D.N.Y.1999) (citing Hecht, 897 F.2d at

     25); Naso, 850 F.Supp. at 275.      Conclusory allegations of agreement are insufficient. See,

     e.g., Morin, 711 F.Supp. at 111; Black Radio Network, Inc., 44 F.Supp.2d at 581.




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                       Moreover “[t]o establish a violation of § 1962(d), a plaintiff must show that

     defendant agreed with at least one other entity to commit a substantive RICO offense.” Crawford

     v. Franklin Credit Mgmt. Corp., 758 F.3d 473, 487 (2d Cir. 2014); see also Curtis v. Greenberg,

     No. 20-CV-824, 2021 WL 4340788 (E.D.N.Y. 2021)(action under 18 U.S.C. §§ 1962(c) and

     1962(d) dismissed because RICO violation insufficiently pled and plaintiff did not “allege any

     further acts that, if carried out, would have satisfied RICO’s requirement of a pattern of

     racketeering.”). Additionally, plaintiff must adequately plead a substantive violation of RICO to

     maintain an action under 18 U.S.C. § 1962(d). See Moss v BMO Harris Bank, N.A., 258 F.Supp

     3d 289 (E.D.N.Y. 2017). “A substantive violation of RICO violation is pled properly by a factual

     showing of ‘(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity’ for

     each individual defendant.” Tech. in P’ship v. Rudin, No. 10 Civ. 8076(RPP), 2011 WL 4575237,

     at *4 (S.D.N.Y. Oct. 3, 2011)(citation omitted). Here, plaintiff has failed to plead a substantive

     violation of RICO.

                       Accordingly, plaintiff’s claims under 18 U.S.C. § 1962(d) must be dismissed.

     II.          PLAINTIFF FAILED TO ADEQUATELY PLEAD AN AGREEMENT TO CONSPIRE

                       Plaintiff does not dispute that “[i]n the civil context, a plaintiff must allege that the

     defendant ‘knew about and agreed to facilitate the scheme.’” Baisch v. Gallina, 346 F.3d 366 (2d

     Cir. 2003) citing Salinas v. United States, 522 U.S. 52, 65 (1997). As noted in Point I supra,

     plaintiff’s amended complaint contains bare conclusory allegations surrounding an agreement to

     conspire. There are no facts from which it can be inferred that Boikess, Outside Accountant,

     conspired with the other defendants or agreed to the conduct of an illicit enterprise designed to

     cause damage to Plaintiff. Elsevier Inc. v. W.H.P.H.R., Inc., 692 F. Supp. 2d 297, 312-313

     (S.D.N.Y. 2010). Thus, plaintiff’s claim under 18 U.S.C. § 1962(d) should be dismissed.

           III.     PLAINTIFF FAILED TO PLEAD BREACH OF FIDUCIARY DUTY

                       Plaintiff’s complaint solely contains conclusory allegations of a breach of fiduciary

     duty. “In New York, the accountant-client relationship does not generally give rise to a fiduciary



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     relationship absent special circumstances.” Vtech Holdings Ltd. v. Pricewaterhouse Coopers

     LLP, 348 F. Supp. 2d 255, 268 (S.D.N.Y. 2004); Block v. Razorfish, Inc., 121 F. Supp. 2d 401,

     403 (S.D.N.Y. 2000); see also Fund of Funds, Ltd. v. Arthur Anderson & Co., 545 F. Supp. 1314,

     1356 (S.D.N.Y. 1982). A court may permit a breach of fiduciary duty cause of action against an

     accountant to stand “where the allegations include knowledge and concealment of illegal acts and

     diversion of funds.” Nate B. & Frances Spingold Foundation v. Wallin, Simon, Black & Co., 184

     A.D.2d 464 (N.Y. App. Div. 1992). However, “mere preparation of tax returns … coupled with

     bald conclusory allegations of knowledge and concealment do not meet the plausibility standard

     in Iqbal.” Tech. in P’ship, 2011 WL 4575237, at *6 (dismissing the claim for breach of fiduciary

     duty with prejudice when the complaint alleged that the accountants owed a fiduciary duty and

     participated in the fraudulent scheme to steal funds from plaintiff).

                    Moreover, “whether a relationship is fiduciary in nature must be determined on the

     basis of the services agreed to by the parties.” Vtech Holdings Ltd. v. Pricewaterhouse Coopers

     LLP, 348 F. Supp. 2d 255, 268 (S.D.N.Y. 2004)(citing Northeast Gen. Corp. v. Wellington Adver.,

     82 N.Y.2D 158, 163 (1993). Here, Boikess, Outside Accountant, was retained to review the

     financial statements and was not required to audit the information received or express an opinion

     of the financial statements. The engagement letter between Kwik Ticket Inc., and Boikess clearly

     designates that the prevention and detection of fraud is plaintiff’s responsibility. Thus, plaintiff

     has failed to adequately allege the existence of a fiduciary duty owed to it by Boikess, Outside

     Accountant.

             IV.     PLAINTIFF’S AIDING AND ABETTING COUNTS SHOULD BE DISMISSED

                    The element of “conduct” means to “lead, run, manage or direct,” and the Supreme

     Court has long rejected that mere “involvement in the affairs of an enterprise [ ] satisf[ies] the

     ‘conduct or participate’ requirement.” Reves v. Ernst & Young, 507 U.S. 170, 177-78 (1993).

     “Simply alleging that certain entities provide services which are helpful to an enterprise without

     any allegations that those entities exert any control over the enterprise does not sufficiently allege



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     a claim under RICO against those entities.” City of New York v. Smokes-Spirits.com, Inc., 541

     F.3d 425, 449 (2d Cir. 2008), rev'd on other grounds, Hemi Grp., LLC v. City of New York, 559

     U.S. 1 (2010). “Aiding and abetting a violation … [p]erforming tasks necessary or helpful to the

     enterprise … provid[ing] goods and services that ultimately benefit the enterprise … [and]

     engaging in wrongful conduct that assists the enterprise” do not allege direction of a RICO

     enterprise. Abbott Laboratories v. Adelphia Supply USA, No. 15CV5826CBALB 2017, WL 57802,

     at *6 (E.D.N.Y. Jan. 4, 2017). “[E]ven intentional participation in a fraud will not subject a

     defendant to RICO liability if he is not involved in the operation or management.” Burke v. Dowling,

     944 F. Supp. 1036, 1055 (E.D.N.Y. 1995).. “The test advanced in Reves is intended to make it

     difficult to hold an outside service provider - such as, for instance, an accountant or lawyer–- liable

     under § 1962(c)).” N.Y. v. United Parcel Serv., Inc., 15-CV-1136(KBF), 2016 WL 4203547, at *4

     (S.D.N.Y. Aug. 9, 2016). Thus, as here, “there is no suggestion that [Boikess] ever directed

     anyone to do anything” (Morin v. Trupin, 832 F.Supp. 93, 98 (S.D.N.Y. 1993), both the RICO and

     aiding and abetting claims fail as a matter of law.

                     To state a fraud claim, plaintiff must allege “a misrepresentation or a material

     omission of fact which was false and known to be false by defendant, made for the purpose of

     inducing the other party to rely upon it, justifiable reliance of the other party on the

     misrepresentation or material omission, and injury.” Mandarin Trading Ltd. v. Wildenstein, 16

     N.Y.3d 173, 178 (2011). To state a claim for aiding and abetting fraud, plaintiff “must show (1)

     the existence of a fraud; (2) [the] defendant's knowledge of the fraud; and (3) that the defendant

     provided substantial assistance to advance the fraud's commission.” Krys v. Pigott, 749 F.3d 117,

     127 (2d Cir. 2014). “In asserting claims of fraud - including claims for aiding and abetting fraud

     … – a complaint is required to plead the circumstances that allegedly constitute fraud ‘with

     particularity.”’ Id. at 129 (citing Rule 9(b)).

                     In Stanfield Offshore Leveraged Assets. Ltd. v. Metro. Life Ins. Co., the court

     dismissed plaintiff’s claim for aiding and abetting a fraud. In support of its aiding and abetting



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     claim plaintiff alleged that “Credit Suisse assisted in the alleged fraud by failing to disclose

     Meridian’s insolvency.” 64 A.D.3d 472, 476 (1st Dept. 2009). The court held that “[t]his allegation

     was insufficient to support a claim of aiding and abetting fraud absent a fiduciary duty or some

     other independent duty owed by Credit Suisse to the plaintiffs.” Id. Moreover, under the terms of

     the agreement, Credit Suisse did not owe plaintiff a duty to disclose any information relating to

     Meridian. Thus, it could not be held liable for failure to disclose Meridian’s insolvency. Id.(“Thus,

     the agreement itself bars plaintiff’s cause of action for aiding and abetting fraud based on

     allegations of silence or inaction.”).

                      Furthermore, in Hongying Zhao v. JPMorgan Chase & Co., the complaint alleged

     that defendants knew or were willfully blind to the fact that Haddow and his company were

     perpetrating fraud on their investors. 2019 U.S. Dist. LEXIS 40673, at *11 (S.D.N.Y. Mar. 13,

     2019). The court dismissed the aiding and abetting a fiduciary duty count for failure to plead:

     existence of a duty, actual knowledge of the fiduciary relationship, actual knowledge of the breach,

     and substantial assistance. Furthermore, the court noted that inaction only constitutes substantial

     assistance when the “defendant owes a fiduciary duty directly to the plaintiff.” Id. (citing Kaufman

     v. Cohen, 307 A.D.2d 113, 126 (1st Dept. 2003). The court also dismissed the remaining aiding

     and abetting claims on the basis that “elements of aiding and abetting a breach of fiduciary duty,

     aiding and abetting a conversion, and aiding and abetting a fraud are substantially similar.” Id.

     (citing Kirschner v. Bennett, 648 F.Supp.2d 525, 533 (S.D.N.Y. 2009)).

                      Here, as in Stanfield Offshore Leveraged Assets. Ltd. and Hongying Zhao, supra.

     defendant Boikess did not owe a fiduciary duty directly to Kwik Ticket, Inc. Under the terms of

     the outside accountant engagement letter, the prevention and detection of fraud was the

     responsibility of Kwik Ticket, Inc. and not that of Boikess. See Exhibit 1, Boikess Affidavit.2



     2
       The Court should consider Boikess Affidavit and engagement letter as integral to the complaint. The engagement
     letter sets out Boikess responsibilities as outside accountant. See Cortec Industries, Inc. v. Sum Holding L.P., 949
     F.2d 42 (2d Cir. 1991)(holding that the reviewing court could consider extrinsic evidence on a motion to dismiss if
     the evidence was integral to the complaint); I. Meyer Pincus & Associates, P.C. v. Oppenheimer & Co., Inc., 936 F.2d



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     Pursuant to the engagement letter, “[Boikess] will not audit the information and will not express

     an opinion on such information.” See Exhibit 1, Boikess Affidavit.

                       Furthermore, pursuant to Kwik Ticket’s and Boikess’ agreement, Boikess had no

     duty to express an opinion regarding the financial statements. Hence silence and inaction by

     Boikess, Outside Accountant, is insufficient to constitute substantial assistance. See Stanfield

     Offshore Leveraged Assets. Ltd., 64 A.D.3d at 476; Hongying Zhao, 2019 U.S. Dist. LEXIS 40673,

     at *11 (S.D.N.Y. Mar. 13, 2019). Accordingly, plaintiff’s aiding and abetting counts should be

     dismissed.

              V.       UNJUST ENRICHMENT COUNT CANNOT BE SUSTAINED

                       Plaintiff’s count for unjust enrichment should be dismissed as it only contains

     conclusory allegations. To prevail on a claim for unjust enrichment in New York, “plaintiff must

     show that the other party was enriched, at plaintiff's expense, and that it is against equity and

     good conscience to permit the other party to retain what is sought to be recovered.” Georgia

     Malone & Co., Inc. v. Ralph Rieder, 86 A.D.3d 406, 408 (1st Dept. 2011). In Matter of Blumenthal

     (Kingsford), the Court applied the faithless servant doctrine after the former executor of the estate

     made systematic, unauthorized transfers to himself and his affiliates. The court found that

     defendant’s repeated disloyalty required disgorgement of his compensation. 32 A.D.2d 767 (1st

     Dept. 2006). Similarly, in Yukos Capital S.A.R.L. v. Feldman, the court held that under the

     faithless servant doctrine, “one who owes a duty of fidelity to a principal and who is faithless in

     the performance of his services is generally disentitled to recover his compensation…” 977 F.3d

     216, 237-39 (2d Cir. 2020).

              Here, plaintiff fails to plead any facts beyond conclusory allegations that show Boikess

     was faithless. In fact, Boikess could not act faithlessly as he was not required to examine the



     759 (2d Cir. 1991)(“We therefore decline to close our eyes to contents of the prospectus and to create a rule permitting
     plaintiff to evade a properly argued motion to dismiss simply because plaintiff has chosen not to attach the prospectus
     to the complaint or incorporate it by reference.”). Plaintiffs’ allegations against Boikess arise out of the services he
     rendered as an outside accountant. Boikess’s services are determined by the engagement letter making it integral to
     the complaint.

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     financial statements for fraud. See Exhibit 1, Boikess Affidavit.       Pursuant to the Outside

     Accountant engagement letter, Boikess was required only to perform a review engagement. Id.

     A review engagement “is substantially less in scope than an audit engagement” and did not

     include expressing an opinion on the financial statements. Id. Moreover, Kwik Ticket, Inc. was

     responsible for the prevention and detection of fraud. Id. Thus, plaintiff’s count for unjust

     enrichment should be dismissed.

                                              CONCLUSION

            For the foregoing reasons, this Court should grant defendant Boikess Outside Accountant

     motion to dismiss with prejudice, along with such other, further and different relief as this Court

     deems just, proper and equitable.

     Dated: Brooklyn, New York
            November 22, 2021

                                                                     By //s// Carmen A. Pacheco //s//
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